   Case: 1:23-cv-01951 Document #: 25-1 Filed: 05/04/23 Page 1 of 2 PageID #:331




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MELANIE HOEG, ANGELA DAVIS,              )
MELINDA GARCIA, and 1,025 OTHER          )
INDIVIDUALS,                             )
                                         )
       Petitioners,                      )   Civil Action No. 1:23-cv-01951
                                         )
       vs.                               )
                                         )
SAMSUNG ELECTRONICS AMERICA,             )
INC., and SAMSUNG ELECTRONICS CO., )
LTD. (d/b/a Samsung Electronics America, )
Inc.),                                   )
                                         )
       Respondents.
                                         )
                                         )


 DECLARATION OF GARY M. KLINGER IN SUPPORT OF PETITIONERS’ MOTION
                     TO COMPEL ARBITRATION




Declaration of Gary M. Klinger           1
   Case: 1:23-cv-01951 Document #: 25-1 Filed: 05/04/23 Page 2 of 2 PageID #:332




                          DECLARATION OF GARY M. KLINGER

       1.      I am an adult over the age of eighteen and a resident of Illinois, and counsel of

record for Petitioners. I make this declaration of my own personal knowledge and, if called as a

witness, could and would testify competently to the facts stated herein.

       2.      Attached as Exhibit P is a true and correct copy of Samsung’s Motion to Compel

Arbitration in McDougall v. Samsung Elecs. Am., Inc., No. 1:23-cv-00168-LGS (S.D.N.Y. Apr.

11, 2023).

       3.      Attached as Exhibit Q is a true and correct copy of the Declaration of Nicole

Cantwell iso Samsung’s Motion to Compel Arbitration in McDougall v. Samsung Elecs. Am., Inc.,

No. 1:23-cv-00168-LGS (S.D.N.Y. Apr. 11, 2023).

       4.      Attached as Exhibit R is a true and correct copy of the Declaration of Nicole

Cantwell iso Samsung’s Motion to Compel Arbitration in G.T. v. Samsung Elecs. Am., Inc., No.

1:21-cv-04976 (N.D. Ill. Oct. 29, 2021).

       5.      Attached as Exhibit S is a true and correct copy of the Declaration of Nicole

Cantwell iso Samsung’s Motion to Compel Arbitration in Vasadi v. Samsung Elecs. Am., Inc., No.

2:21-cv-10238 (D.N.J. Jul. 12, 2021).

       6.      Attached as Exhibit T is a true and correct copy of the Declaration of Tim Rowden

iso Samsung’s Motion to Compel Arbitration in McNamara v. Samsung Telecomms. Am., LLC,

No. 1:14-cv-01676 (N.D. Ill. May 4, 2014) (exhibits omitted).

       I declare under penalty of perjury under the laws of the United States and State of Illinois

that the foregoing is true and correct.

       Executed on May 4, 2023.

                                             ____________________________________
                                             GARY M. KLINGER



Declaration of Gary M. Klinger                  2
